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                   EXHIBIT B
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 From: Richard Spencer <richardbspencer@icloud.com>
 Sent: Friday, September 4, 2020 12:02:40 PM
 To: Michael Bloch <mbloch@kaplanhecker.com>
 Subject: Kessler's Deposition

 Mr Bloch,

 I’m attempting to purchase the depositions of Jason Kessler.

 I contacted TSG reporting. But apparently, they did not record this deposition.

 Do you know which company did?

 Thank you,
 Richard Spencer
